




NO. 07-02-0330-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



AUGUST 9, 2002



______________________________





IN RE: JUSTIN SAMIRE WHITE



_________________________________



ORIGINAL PROCEEDING

_______________________________



Before QUINN and REAVIS and JOHNSON, JJ.

Relator Justin Samire White seeks a writ of mandamus compelling the 320th
 District Court 
of Potter County, to show cause why a motion filed by relator, acting &nbsp;
pro se
, has not been heard and granted. &nbsp;We deny the petition.		

On July 26, 2002, relator filed with the clerk of this court a pleading entitled Petition for Writ of Mandamus. &nbsp;By his petition, relator alleges that he has been under indictment since November 8, 2001. &nbsp;He also alleges that he filed a motion seeking withdrawal [sic] of his counsel in a proceeding in the 320th
 District Court and appointment of a new counsel; that no action has been taken on his motion and that no action is expected. &nbsp;We are requested to compel the trial court to show cause why the motion has not been heard and a new counsel appointed. &nbsp;

In support of the petition for writ of mandamus, relator has neither attached nor furnished any document or record of proceedings. &nbsp;The style and number of the proceeding in the 320th
 District Court is not disclosed to us. &nbsp;When or if a hearing has ever been requested or the motion presented to the judge in the 320th
 District Court is not disclosed or proved by relator. &nbsp;&nbsp;

When petition for writ of mandamus is made, it is the relator’s burden to show entitlement to the relief being requested. &nbsp;
See
 
generally
 
Johnson v. Fourth District Court of Appeals
, 700 S.W.2d 916, 917 (Tex. 1985) (orig. proceeding). &nbsp;Relator must file with the petition, 
inter alia
, a certified sworn copy of every document that is material to relator’s claim for relief and that was filed in any underlying proceeding, and a properly authenticated transcript of any relevant testimony from any underlying proceeding including any exhibits offered in evidence or a statement that no testimony was adduced in connection with the matter complained of. &nbsp;
Tex. R. App.
 P. 52.7(a).

Relator’s petition for writ of mandamus contains only allegations. &nbsp;Certified, sworn copies of motions and correspondence referenced are not included with the application, nor is any other document or transcript. &nbsp;Relator has not presented a record which shows entitlement to the relief sought, or upon which we are authorized to act.

The petition/application for writ of mandamus is denied.

Phil Johnson

 &nbsp;&nbsp;&nbsp;Justice





Do not publish.


